Case 1:23-cv-00108-LMB-JFA Document 1158-3 Filed 08/16/24 Page 1 of 24 PageID# 84168




                           Exhibit 3
                           (Excerpt)
                          (Redacted)
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA




    UNITED STATES OF AMERICA, ET AL.,
                Plaintiffs,

          v.                                     Case No. 1:23-cv-00108 (LMB/JFA)

    GOOGLE LLC,
                Defendant.




                         EXPERT REPORT OF MARK A. ISRAEL


                                     January 23, 2024




                                 HIGHLY CONFIDENTIAL
                              SUBJECT TO PROTECTIVE ORDER
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          x   &RQQHFWHG 79 GLVSOD\ DGYHUWLVLQJ²ZKLFK 3ODLQWLIIV¶ PDUNHWV H[FOXGH²JUHZ IURP

              HVVHQWLDOO\ ]HUR SHUFHQW RI 86 GLVSOD\ DG VSHQGLQJ LQ  WR  SHUFHQW LQ 

          x   'LUHFW VDOHV RI GLVSOD\ DGYHUWLVLQJ EHWZHHQ DGYHUWLVHUV DQG SXEOLVKHUV LQFOXGLQJ

              SURJUDPPDWLF GLUHFW RSWLRQV ²ZKLFK 3ODLQWLIIV¶ PDUNHWV H[FOXGH²DFFRXQWHG IRU DW OHDVW

               SHUFHQW RI 86 GLVSOD\ DG VSHQGLQJ WKURXJKRXW WKH HQWLUH  WR  SHULRG 

           3ODLQWLIIV¶ SURSRVHG UHOHYDQW SURGXFW PDUNHWV YLRODWH FRUH SULQFLSOHV RI PDUNHW GHILQLWLRQ

    DQG WKXV DUH RYHUO\ QDUURZ LQ WKH VHQVH WKDW WKH\ OHDYH RXW FULWLFDO FRPSHWLWLYH FRQVWUDLQWV DQG

    WKXV IDLO DW WKH PRVW LPSRUWDQW SXUSRVH RI PDUNHW GHILQLWLRQ 6HFWLRQ ,9  7KH SULPDU\ SXUSRVH

    RI PDUNHW GHILQLWLRQ LV WR LGHQWLI\ WKH PRVW LPSRUWDQW FRPSHWLWLYH FRQVWUDLQWV IDFHG E\ WKH ILUP

    DQG SURGXFWV LQ TXHVWLRQ DQG WKXV WR SURYLGH WKH SURSHU VHWWLQJ LQ ZKLFK WR DVVHVV WKH H[WHQW WR

    ZKLFK WKH ILUP LQ TXHVWLRQ KDV PDUNHW RU PRQRSRO\ SRZHU LQ WKH IDFH RI WKRVH FRQVWUDLQWV

    3ODLQWLIIV GHILQH RYHUO\ QDUURZ SURGXFW PDUNHWV²RPLWWLQJ NH\ FRPSHWLWLYH FRQVWUDLQWV²ZKLFK

    YLRODWH FRUH SULQFLSOHV RI PDUNHW GHILQLWLRQ DQG WKXV FDQQRW SURYLGH D VRXQG EDVLV RQ ZKLFK WR

    DVVHVV PDUNHW SRZHU

          x   0DUNHWV VKRXOG LQFOXGH DOO VLJQLILFDQW FRPSHWLWLYH FRQVWUDLQWV 7KH UHOHYDQW PDUNHW V

              VKRXOG EH GHILQHG WR LQFOXGH DOO FORVH FRPSHWLWRUV WR WKH ILUP DQG LWV UHOHYDQW SURGXFWV

              ZKRVH FRQGXFW LV DW LVVXH &ORVH FRPSHWLWRUV DUH WKRVH FRPSHWLWRUV WKDW LPSRVH

              VLJQLILFDQW FRPSHWLWLYH FRQVWUDLQWV RQ WKH SURGXFW V DW LVVXH²PHDQLQJ WKH FRPSHWLWRUV

              WKDW ZRXOG GLUHFWO\ RU LQGLUHFWO\ WDNH VLJQLILFDQW UHYHQXH IURP WKH ILUP LI LW ZHUH WR UDLVH

              LWV SULFHV RU ORZHU WKH TXDOLW\ RI LWV RIIHULQJV $ PDUNHW GHILQLWLRQ WKDW H[FOXGHV



             ,Q FRQWUDVW LQGLUHFW VDOHV RI GLVSOD\ DGYHUWLVLQJ EHWZHHQ DGYHUWLVHUV DQG SXEOLVKHUV UHPDLQHG
              UHODWLYHO\ FRQVWDQW RYHU WKH UHOHYDQW WLPH SHULRG DFFRXQWLQJ IRU  SHUFHQW RI 8 6 GLVSOD\ DG
              VSHQGLQJ LQ  DQG  SHUFHQW LQ 


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           VLJQLILFDQW FRPSHWLWLYH FRQVWUDLQWV ZLOO QDWXUDOO\ EXW PLVWDNHQO\ ILQG D ODFN RI

           FRPSHWLWLRQ LQ WKH QDUURZO\ GHILQHG PDUNHW DQG QDWXUDOO\ EXW PLVWDNHQO\ ILQG WKH

           SUHVHQFH RI VLJQLILFDQW PDUNHW RU HYHQ PRQRSRO\ SRZHU

           )RU H[DPSOH DV H[SODLQHG LQ JUHDWHU GHWDLO EHORZ PDUNHWV OLPLWHG WR ³RSHQ ZHE GLVSOD\

           DGYHUWLVLQJ´ PLVV WKH PRVW DFWLYH DUHDV RI FRPSHWLWLRQ LQ GLJLWDO DGYHUWLVLQJ DQG DG WHFK

           DQG WKXV GR QRW FDSWXUH WKH PRVW VLJQLILFDQW FRPSHWLWLYH FRQVWUDLQWV RQ *RRJOH +HQFH

           VXFK DQ DUWLILFLDOO\ QDUURZ PDUNHW GHILQLWLRQ GRHV QRW SURYLGH D VRXQG EDVLV IRU DVVHVVLQJ

           WKH H[WHQW WR ZKLFK *RRJOH¶V DG WHFK SURGXFWV SRVVHVV PDUNHW SRZHU RU IRU DVVHVVLQJ WKH

           HIIHFWV RI *RRJOH¶V FKDOOHQJHG FRQGXFW 8QGHUVWDQGLQJ WKH FRPSHWLWLRQ WKDW H[LVWV

           EHWZHHQ RSHQ ZHE GLVSOD\ DGYHUWLVLQJ DQG RWKHU IRUPV RI GLVSOD\ DGYHUWLVLQJ LQFOXGLQJ

           EXW QRW OLPLWHG WR WKH VWURQJ FRPSHWLWLRQ WKDW FRPHV IURP VRFDOOHG ³ZDOOHG JDUGHQV´

           VXFK DV 0HWD DQG $PD]RQ LV FULWLFDO WR HYDOXDWLQJ ERWK WKH H[WHQW RI *RRJOH¶V PDUNHW

           SRZHU DQG WKH HIIHFWV RI WKH FKDOOHQJHG FRQGXFW $V RQH VLPSOH LPSOLFDWLRQ IRU WKH

           SUHVHQW FDVH D PDUNHW GHILQLWLRQ WKDW GHILQHV 0HWD DQG $PD]RQ RXW RI WKH PDUNHW LV QRW

           XVHIXO IRU GUDZLQJ LQVLJKWV DERXW WKH DFWXDO FRPSHWLWLRQ WKDW *RRJOH IDFHV

       x   $SSOLFDWLRQ RI SULQFLSOHV RI PDUNHW GHILQLWLRQ WR WZRVLGHG PDUNHWV ZLWK LQGLUHFW QHWZRUN

           HIIHFWV $ SDUWLFXODU FRPSOLFDWLRQ DULVHV LQ WKLV FDVH EHFDXVH WKH DG WHFK LQGXVWU\ LV

           FKDUDFWHUL]HG E\ LQGLUHFW QHWZRUN HIIHFWV 2QH FRQVHTXHQFH RI LQGLUHFW QHWZRUN HIIHFWV LV

           WKDW DFWLRQV RQ RQH VLGH RI WKH PDUNHW QHFHVVDULO\ DIIHFW RXWFRPHV RQ WKH RWKHU VLGH RI WKH

           PDUNHW IRU H[DPSOH DFWLRQV WKDW UHGXFH WKH DPRXQW RI DGYHUWLVLQJ LQYHQWRU\ RIIHUHG E\

           SXEOLVKHUV ZLOO UHGXFH WKH QXPEHU RI ELGV IRU GLJLWDO DGV DQG YLFH YHUVD /LNHZLVH

           DFWLRQV WKDW FUHDWH QHZ GLJLWDO SURSHUWLHV ZKHUH XVHUV VHH GLJLWDO DGV²IRU H[DPSOH WKH




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           FUHDWLRQ RI D QHZ VRFLDO PHGLD SODWIRUP²ZLOO DIIHFW WKH QXPEHU DQG DPRXQW RI ELGV IRU

           GLJLWDO DGV VROG RQ SUHH[LVWLQJ GLJLWDO SURSHUWLHV

           7KLV IDFW LPSOLHV WKDW DG WHFK LQWHUPHGLDULHV DUH FRPSHWLWLYHO\ FRQVWUDLQHG E\ WKH RSWLRQV

           WKDW ERWK SXEOLVKHUV DQG DGYHUWLVHUV KDYH UHJDUGOHVV RI ZKHWKHU WKH LQWHUPHGLDU\ LV

           SXEOLVKHUIDFLQJ RU DGYHUWLVHUIDFLQJ RU ERWK 7KLV IROORZV EHFDXVH RQH RI WKH FRQVWUDLQWV

           RQ DQ\ DFWLRQ WKDW ZRXOG KDUP RQH VLGH RI WKH PDUNHW HJ KLJKHU SULFHV LV WKDW²GXH WR

           IHHGEDFN HIIHFWV²LW ZRXOG DOVR FRVW VDOHV RQ WKH RWKHU VLGH RI WKH PDUNHW :KHQ DG WHFK

           LQWHUPHGLDULHV H[WUDFW PRUH RI WKH VXUSOXV FUHDWHG E\ PDWFKHV EHWZHHQ DGYHUWLVHUV DQG

           LPSUHVVLRQV FUHDWHG ZKHQ XVHUV YLVLW SXEOLVKHUV¶ GLJLWDO SURSHUWLHV WKDW PDNHV DG WHFK

           OHVV DWWUDFWLYH IRU SXEOLVKHUV DGYHUWLVHUV RU ERWK  ZKLFK UHGXFHV WKH WRWDO TXDQWLW\ RI

           GLJLWDO DGYHUWLVLQJ WUDQVDFWHG YLD DG WHFK $V WKH TXDQWLW\ WUDQVDFWHG IDOOV VR GR WKH

           UHYHQXHV RI DG WHFK LQWHUPHGLDULHV RQ ERWK VLGHV RI WKH PDUNHW EHFDXVH LQWHUPHGLDULHV

           HDUQ PRQH\ ZKHQ WKH\ IDFLOLWDWH WUDQVDFWLRQV %HFDXVH HYHU\ VDOH E\ D SXEOLVKHU LV D

           SXUFKDVH E\ DQ DGYHUWLVHU D SXUHO\ RQHVLGHG IRFXV LV QHFHVVDULO\ LQFRPSOHWH

           6XEVWLWXWLRQ DZD\ IURP DG WHFK RQ HLWKHU VLGH FRVWV DOO LQWHUPHGLDULHV EXVLQHVV 'XH WR

           WKH IHHGEDFN HIIHFWV DQG FRQVWUDLQWV RQ ERWK VLGHV RI WKH PDUNHW²DQG FRQWUDU\ WR 3URI

           /HH¶V DQDO\VLV²WKH LQGLUHFW QHWZRUN HIIHFWV WKDW FKDUDFWHUL]H WZRVLGHG PDUNHWV LPSO\

           WKDW DQDO\VLV RI UHOHYDQW DQWLWUXVW PDUNHWV UHTXLUHV FRQVLGHUDWLRQ RI DOO WKH GLPHQVLRQV RI

           VXEVWLWXWLRQ RQ ERWK VLGHV RI WKH SODWIRUP QRW MXVW FRQVWUDLQWV RQ RQH VLGH

       x   3ODLQWLIIV¶ ³DGYHUWLVHU DG QHWZRUN´ PDUNHW LV RYHUO\ QDUURZ 3ODLQWLIIV DOOHJH WKDW

           ³DGYHUWLVHU DG QHWZRUNV´ IRU RSHQ ZHE GLVSOD\ DGYHUWLVLQJ FRQVWLWXWH D UHOHYDQW SURGXFW

           PDUNHW +RZHYHU WKLV QDUURZ PDUNHW GHILQLWLRQ H[FOXGHV LPSRUWDQW FRPSHWLWLYH

           DOWHUQDWLYHV WKDW DGYHUWLVHUV FDQ PDNH XVH RI


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           (YHQ ZLWKLQ WKH VFRSH RI RSHQ ZHE GLVSOD\ DGYHUWLVLQJ DGYHUWLVHUV FDQ DFFHVV WKH VDPH

           LQYHQWRU\ XVLQJ RWKHU W\SHV RI EX\LQJ WRROV VXFK DV GHPDQGVLGH SODWIRUPV '63V DQGRU

           EX\LQJ GLUHFWO\ IURP SXEOLVKHUV RSWLRQV WKDW DUH H[FOXGHG IURP 3ODLQWLIIV¶ QDUURZ

           ³DGYHUWLVHU DG QHWZRUN´ PDUNHW ,Q DGGLWLRQ DGYHUWLVHUV FDQ VXEVWLWXWH WR IRUPV RI

           DGYHUWLVLQJ WKDW 3ODLQWLIIV H[FOXGH IURP WKHLU DOOHJHG UHOHYDQW PDUNHW LQFOXGLQJ

           DGYHUWLVLQJ RQ VRFLDO PHGLD SURSHUWLHV DQG LQDSS DGYHUWLVLQJ )RU H[DPSOH LI DQ

           DGYHUWLVHU LV QRW VXFFHVVIXOO\ UHDFKLQJ LWV WDUJHW DXGLHQFH ZKHQ LW XWLOL]HV *RRJOH $GV LW

           PD\ VKLIW DG VSHQG WR 0HWD $GV 0DQDJHU LQ WKH KRSHV WKDW LW FDQ UHDFK LWV WDUJHW DXGLHQFH

           RQ )DFHERRN RU ,QVWDJUDP *LYHQ WKH ZLGH UDQJH RI RSWLRQV WR ZKLFK DGYHUWLVHUV FDQ DQG

           GR VZLWFK DV GHPRQVWUDWHG E\ 3URI 6LPRQVRQ¶V VXUYH\ DQG RWKHU HPSLULFDO HYLGHQFH ²

           DQG WKH DVVRFLDWHG DG WHFK WKDW IDFLOLWDWHV WKRVH WUDQVDFWLRQV²3ODLQWLIIV¶ PDUNHW GHILQLWLRQ

           LV XQWHQDEOH

           ,QFOXGLQJ RWKHU RSHQ ZHE GLVSOD\ DGYHUWLVHU EX\LQJ WRROV VXFK DV '63V UHGXFHV *RRJOH¶V

           VKDUH LQ D FDQGLGDWH DGYHUWLVHU EX\LQJ WRRO PDUNHW WR QR KLJKHU WKDQ DURXQG  SHUFHQW

           ZLWKRXW HYHQ FRQVLGHULQJ RWKHU RPLWWHG FRPSHWLWLYH FRQVWUDLQWV OLNH VRFLDO PHGLD

           DGYHUWLVLQJ )XUWKHU LQFOXGLQJ GLUHFW SXUFKDVHV LQ WKDW PDUNHW EXW FRQWLQXLQJ WR RPLW

           RWKHU LPSRUWDQW FRPSHWLWLYH FRQVWUDLQWV OLNH VRFLDO PHGLD DGYHUWLVLQJ  *RRJOH¶V VKDUH LV

           DURXQG  SHUFHQW EDVHG RQ LPSUHVVLRQV DQG OHVV WKDQ  SHUFHQW EDVHG RQ DG VSHQGLQJ

           &RQVLGHULQJ DOO EX\LQJ WRROV IRU GLVSOD\ DGYHUWLVLQJ LH LQFOXGLQJ VRFLDO PHGLD DQG DOO

           RWKHU IRUPV RI GLVSOD\ DGYHUWLVLQJ  *RRJOH¶V VKDUH LV OHVV WKDQ  SHUFHQW

       x   3ODLQWLIIV¶ DG H[FKDQJH PDUNHW LV RYHUO\ QDUURZ 3ODLQWLIIV DOOHJH WKDW ³DG H[FKDQJHV IRU

           LQGLUHFW RSHQ ZHE GLVSOD\ DGYHUWLVLQJ´ FRQVWLWXWH D UHOHYDQW SURGXFW PDUNHW +RZHYHU

           SXEOLVKHUV DQG DGYHUWLVHUV KDYH LPSRUWDQW RSWLRQV WR VXEVWLWXWH DZD\ IURP LQGLUHFW VDOHV


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         WUDQVDFWHG WKURXJK DG H[FKDQJHV²PHDQLQJ LPSRUWDQW SDWKV WR FRQQHFW DGYHUWLVHUV DQG

         SXEOLVKHUV ZLWKRXW UHO\LQJ RQ LQGLUHFW VDOHV²WKDW 3ODLQWLIIV¶ PDUNHW RPLWV 3XEOLVKHUV

         DQG DGYHUWLVHUV FDQ DQG GR GLVLQWHUPHGLDWH DG H[FKDQJHV ZLWK GLUHFW VDOHV $V RQH

         GHPRQVWUDWLRQ RI WKH LPSRUWDQFH RI WKLV VXEVWLWXWLRQ EHWZHHQ GLUHFW DQG LQGLUHFW FKDQQ HOV

         D FRUH SXUSRVH RI D SXEOLVKHU¶V DG VHUYHU LV WR DOORFDWH VDOHV RI LPSUHVVLRQV EHWZHHQ GLUHFW

         DQG LQGLUHFW EX\HUV YLD IXQFWLRQDOLW\ VXFK DV (QKDQFHG '\QDPLF $OORFDWLRQ  6LPLODUO\

         WKH GHSUHFDWLRQ RI WKLUGSDUW\ FRRNLHV KDV FDXVHG D VKLIW WR GLUHFW SXUFKDVHV ZKLFK HQDEOH

         WKH XVH RI ILUVWSDUW\ FRRNLHV UDWKHU WKDQ WKLUGSDUW\ FRRNLHV 

         ,Q DGGLWLRQ WKH VDPH DOWHUQDWLYHV WR ³RSHQ ZHE GLVSOD\ DGYHUWLVLQJ´ WKDW H[LVW IRU

         SXEOLVKHUV DQG DGYHUWLVHUV ZLWK UHVSHFW WR SXEOLVKHU DG VHUYHUV DQG DGYHUWLVHU EX\LQJ WRROV

         DOVR H[HUW FRPSHWLWLYH SUHVVXUH RQ DG H[FKDQJHV )RU H[DPSOH DGYHUWLVHU VXEVWLWXWLRQ

         DZD\ IURP RSHQ ZHE FRQWHQW HJ WRZDUG ZDOOHG JDUGHQV OLNH 0HWD RU $PD]RQ RU

         SXEOLVKHUV GRLQJ WKH VDPH HJ WRZDUG DSSV LV H[SOLFLWO\ D VKLIW IURP DQ RSHQ ZHEEDVHG

         H[FKDQJH WR DQ H[FKDQJHHTXLYDOHQW HOVHZKHUH ZKLFK GLUHFWO\ UHGXFHV RSHQ ZHE

         H[FKDQJH UHYHQXH $OO RI WKHVH RSWLRQV²DORQJ ZLWK WKH ODUJH QXPEHU RI DG H[FKDQJHV

         IRU LQGLUHFW RSHQ ZHE GLVSOD\ DGYHUWLVLQJ WKDW LV WKH H[WHQVLYH FRPSHWLWLRQ HYHQ ZLWKLQ

         3ODLQWLIIV¶ DOOHJHG PDUNHW ²FRQVWUDLQ *RRJOH¶V EHKDYLRU LQ SURYLGLQJ DG H[FKDQJH

         VHUYLFHV 3XW VLPSO\ WKHUH DUH PDQ\ SDWKV WR FRQQHFW DGYHUWLVHUV DQG SXEOLVKHUV WKDW GR

         QRW GHSHQG RQ *RRJOH¶V DG H[FKDQJH




        7KURXJKRXW WKLV UHSRUW , XVH WKH WHUP ³RSHQ ZHE´ IRU H[SRVLWLRQDO FRQYHQLHQFH +RZHYHU IRU
         WKH UHDVRQV H[SODLQHG LQ 6HFWLRQ ,9 WKLV WHUPLQRORJ\ GRHV QRW GHOLQHDWH UHOHYDQW DQWLWUXVW SURGXFW
         PDUNHWV


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        *RRJOH¶V VKDUH LQ D FDQGLGDWH DG H[FKDQJH PDUNHW LV OHVV WKDQ  SHUFHQW HYHQ WDNLQJ

        3ODLQWLIIV¶ PDUNHW DV JLYHQ ,QFOXGLQJ GLUHFW VDOHV LQ WKDW PDUNHW WR VD\ QRWKLQJ RI RWKHU

        RPLWWHG FRPSHWLWLYH FRQVWUDLQWV OLNH VRFLDO PHGLD DGYHUWLVLQJ  *RRJOH¶V VKDUH LV OHVV WKDQ

         SHUFHQW EDVHG RQ LPSUHVVLRQV DQG OHVV WKDQ  SHUFHQW EDVHG RQ DG VSHQGLQJ

        &RQVLGHULQJ DOO GLVSOD\ DGYHUWLVLQJ VSHQGLQJ OHVV WKDQ  SHUFHQW XVHV *RRJOH¶V DG

        H[FKDQJH WRROV

    x   3ODLQWLIIV¶ SXEOLVKHU DG VHUYHU PDUNHW LV RYHUO\ QDUURZ 3ODLQWLIIV DOOHJH WKDW SXEOLVKHU DG

        VHUYHUV IRU RSHQ ZHE GLVSOD\ DGYHUWLVLQJ FRQVWLWXWH D UHOHYDQW SURGXFW PDUNHW ,Q IDFW

        SXEOLVKHUV KDYH LPSRUWDQW RSWLRQV IRU WKHLU FRQWHQW WKHLU DG IRUPDWV DQG WKHLU DG WHFK

        WRROV DOO RI ZKLFK HQDEOH WKHP WR VXEVWLWXWH DZD\ IURP *RRJOH¶V DG VHUYHU DQG DOO RI

        ZKLFK 3ODLQWLIIV¶ PDUNHW RPLWV LQFOXGLQJ L VKLIWLQJ PRUH RI WKHLU FRQWHQW DQG

        DVVRFLDWHG PRQHWL]DWLRQ WR DSSV VRPHWKLQJ WKDW LV D VWUDWHJLF IRFXV RI PDQ\ SXEOLVKHUV

        DQG LL VHOIVXSSO\ RI DG VHUYHU WHFKQRORJ\ ZKLFK LV SDUWLFXODUO\ DWWUDFWLYH WR WKH ODUJHVW

        SXEOLVKHUV WKDW DFFRXQW IRU WKH YDVW PDMRULW\ RI DFWLYLW\ RQ *RRJOH¶V DG VHUYHU  %RWK RI

        WKHVH DOWHUQDWLYHV ZRXOG FDXVH D ORVV RI VDOHV IRU *RRJOH¶V RSHQ ZHE IRFXVHG DG VHUYHU

        DQG WKXV FRPSHWLWLYHO\ FRQVWUDLQ *RRJOH ,QGHHG PRVW FRPSHWLWLYH IRFXV LQ UHFHQW \HDUV

        LV RQ PRELOH DQG DSSV LQ SDUWLFXODU \HW 3ODLQWLIIV GHILQH WKLV FRPSHWLWLYH DFWLYLW\ RXW RI

        WKHLU DQDO\VLV E\ H[FOXGLQJ WKH DG VHUYHU DQDORJXH IRU LQDSS DGV IURP WKH PDUNHW

        ([SDQGLQJ 3ODLQWLIIV¶ SXEOLVKHU DG VHUYHU PDUNHW WR LQFOXGH LQKRXVH DG VHUYHUV VXFK DV

        WKRVH XVHG E\ 0HWD IRU DGYHUWLVLQJ RQ LWV RZQ SURSHUWLHV  *RRJOH¶V FXUUHQW VKDUH LV OHVV

        WKDQ  SHUFHQW 0RUHRYHU DPRQJ WKH LQDSS PHGLDWLRQ SODWIRUPV WKH LQDSS DQDORJXH

        RI D SXEOLVKHU DG VHUYHU VHUYLQJ WKH UDSLGO\ JURZLQJ VHJPHQW RI LQ DSS GLVSOD\

        DGYHUWLVLQJ *RRJOH¶V VKDUH LV DOVR OHVV WKDQ  SHUFHQW &RQVLGHULQJ DOO GLVSOD\


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        DGYHUWLVLQJ VSHQGLQJ RQO\ DSSUR[LPDWHO\  SHUFHQW FXUUHQWO\ XVHV *RRJOH¶V SXEOLVKHU DG

        VHUYHU WRROV

    x   3ODLQWLIIV¶ SURSRVHG PDUNHWV DUH LQFRQVLVWHQW ZLWK FRPPHUFLDO UHDOLWLHV 7KH SULFLQJ

        SDWWHUQV REVHUYHG LQ WKH GDWD ERWK RYHU WLPH DQG DFURVV DG WHFK FRPSRQHQWV UHIXWH

        3ODLQWLIIV¶ SURSRVHG PDUNHWV DQG GHPRQVWUDWH WKDW 3ODLQWLIIV DUH DOOHJLQJ DQ DFWXDO

        PRQRSROLVW WKDW GRHV QRW UDLVH SULFHV ,QVWHDG WKHVH SDWWHUQV VKRZ WKDW UHOLDQFH RQ

        FRPSRQHQWVSHFLILF PDUNHWV DW GLIIHUHQW OHYHOV RI WKH DG WHFK VWDFN GRHV QRW SURYLGH D

        VRXQG HFRQRPLF IUDPHZRUN ZLWK ZKLFK WR DVVHVV *RRJOH¶V DOOHJHG PDUNHW SRZHU RU LWV

        FKDOOHQJHG FRQGXFW

        5HJDUGLQJ YDULDWLRQ LQ SULFHV DQG FRQFHQWUDWLRQ RYHU WLPH H[LWV E\ SXEOLVKHU DG VHUYHUV

        FUHDWH DQ RSSRUWXQLW\ WR WHVW 3ODLQWLIIV¶ FDQGLGDWH PDUNHWV ,I FRPSRQHQWVSHFLILF PDUNHWV

        DW GLIIHUHQW OHYHOV RI WKH DG WHFK VWDFN DUH YDOLG DQWLWUXVW PDUNHWV H[LWV GXH WR *RRJOH¶V

        DOOHJHG DQWLFRPSHWLWLYH FRQGXFW VKRXOG UHVXOW LQ KLJKHU SULFHV DQG ORZHU RXWSXW %XW WKDW

        LV QRW ZKDW LV REVHUYHG LQ WKH GDWD ZKLFK VKRZ ')3¶V SULFHV GHFOLQLQJ DQG RYHUDOO RXWSXW

        LQFUHDVLQJ RYHU WLPH HYHQ DV DG VHUYHU H[LWV KDYH RFFXUUHG 0RUHRYHU 3ODLQWLIIV KDYH

        QRW GHPRQVWUDWHG WKDW SULFHV ZRXOG KDYH GHFOLQHG HYHQ PRUH DEVHQW WKH FKDOOHQJHG

        FRQGXFW

        6LPLODUO\ GHVSLWH WKH DOOHJHG LQFUHDVHV LQ $G;¶V VKDUH RI RSHQ ZHE DG H[FKDQJHV²IURP

        DOPRVW QRWKLQJ LQ  WR DQ DOOHJHG ³PRUH WKDQ ´ WRGD\ WKRXJK LQ IDFW LWV WUXH VKDUH

        LV ORZHU DV , H[SODLQHG DERYH ²DQG GHVSLWH 3ODLQWLIIV¶ FODLP WKDW *RRJOH KDV

        PRQRSROL]HG DG H[FKDQJHV RYHU WKLV WLPH SHULRG $G;¶V DYHUDJH IHH KDV VWD\HG

        HVVHQWLDOO\ FRQVWDQW 7KXV 3ODLQWLIIV¶ SURSRVHG FRPSRQHQWVSHFLILF SURGXFW PDUNHWV DUH

        LQFRQVLVWHQW ZLWK HFRQRPLF UHDOLWLHV DQG GR QRW SURYLGH D XVHIXO HFRQRPLF IUDPHZRUN IRU


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       DVVHVVLQJ PDUNHW SRZHU RU FRPSHWLWLYH HIIHFWV ,QVWHDG FRPSHWLWLYH FRQVWUDLQWV EH\RQG

       3ODLQWLIIV¶ DOOHJHG PDUNHWV PXVW EH FRQVWUDLQLQJ WKH REVHUYHG SULFLQJ SDWWHUQV %HFDXVH

       WKHVH FRPSHWLWLYH FRQVWUDLQWV DUH RPLWWHG IURP 3ODLQWLIIV¶ SURGXFW PDUNHW GHILQLWLRQV

       WKRVH GHILQLWLRQV DUH QHLWKHU YDOLG QRU LQIRUPDWLYH DERXW WKH H[WHQW WR ZKLFK *RRJOH

       SRVVHVVHV PDUNHW SRZHU

       5HJDUGLQJ YDULDWLRQ LQ SULFHV DQG FRQFHQWUDWLRQ OHYHOV DFURVV DG WHFK FRPSRQHQWV LI

       3ODLQWLIIV¶ WKUHH VHSDUDWH SURSRVHG PDUNHWV ZHUH YDOLG²VXFK WKDW VKDUHV ZLWKLQ WKRVH

       PDUNHWV ZHUH FUHGLEOH LQGLFDWRUV RI PDUNHW SRZHU²*RRJOH VKRXOG EH DEOH WR WDNH LWV

       ELJJHVW FXW RI DG VSHQGLQJ LQ WKH PDUNHW ZKHUH LWV VKDUH LV WKH KLJKHVW ,QVWHDG *RRJOH¶V

       IHHV DUH ORZHVW ZKHUH LWV DOOHJHG FRPSRQHQWVSHFLILF VKDUH LV KLJKHVW SXEOLVKHU DG

       VHUYLQJ  $V ZLWK WKH YDULDWLRQ LQ SULFHV RYHU WLPH WKLV IDFW GHPRQVWUDWHV WKDW 3ODLQWLIIV¶

       SURSRVHG FRPSRQHQWVSHFLILF SURGXFW PDUNHWV DUH QRW YDOLG DV WKH\ GR QRW SURYLGH D

       VRXQG HFRQRPLF IUDPHZRUN IRU DVVHVVLQJ PDUNHW SRZHU RU FRPSHWLWLYH HIIHFWV 5DWKHU

       FRQVLGHUDWLRQ RI WKH IXOO WZRVLGHG PDUNHW LV UHTXLUHG WR XQGHUVWDQG WKH SULFLQJ VWUXFWXUH

       DFURVV WKDW PDUNHW

       )LQDOO\ 3ODLQWLIIV¶ SURSRVHG FRPSRQHQWVSHFLILF PDUNHWV DUH LQFRQVLVWHQW ZLWK LQFUHDVLQJ

       LQWHJUDWLRQ E\ DG WHFK SURYLGHUV DQG WKHLU SURGXFWV ZKLFK PHDQV ILUPV DUH FRPSHWLQJ E\

       RIIHULQJ SURGXFWV WKDW FURVV RYHU PRUH WKDQ RQH RI 3ODLQWLIIV¶ QDUURZ PDUNHWV DQG WKDW LQ

       VRPH FDVHV VNLS RYHU 3ODLQWLIIV¶ SURSRVHG PDUNHWV HQWLUHO\ )RU H[DPSOH GLUHFW

       LQWHJUDWLRQV EHWZHHQ DGYHUWLVHU EX\LQJ WRROV DQG SXEOLVKHUV FRPSHWH ZLWK DG H[FKDQJHV

       DQG SURYLGH DQ DOWHUQDWLYH ZD\ WR FRQQHFW DGYHUWLVHUV DQG SXEOLVKHUV ZLWK QR QHHG IRU DQ

       H[FKDQJH 6LPLODUO\ GLUHFW LQWHJUDWLRQV EHWZHHQ DG H[FKDQJHV DQG DGYHUWLVHUV FRPSHWH

       ZLWK DGYHUWLVHU EX\LQJ WRROV 3ODLQWLIIV¶ FRPSRQHQWOHYHO PDUNHWV LJQRUH WKHVH GLUHFW


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        LQWHJUDWLRQV²ZKLFK VKDWWHU WKH DUWLILFLDO ERXQGDULHV EHWZHHQ WKHLU FRPSRQHQWVSHFLILF

        PDUNHWV²DQG WKXV IDLO WR SURSHUO\ DFFRXQW IRU WKHLU FRPSHWLWLYH LPSOLFDWLRQV

    x   $ VLQJOH WZRVLGHG PDUNHW GHILQLWLRQ SURSHUO\ FDSWXUHV WKH FRPSHWLWLYH UHDOLWLHV RI WKH DG

        WHFK LQGXVWU\ DQG WKH FRPSHWLWLRQ WKDW *RRJOH IDFHV $ WZRVLGHG PDUNHW GHILQLWLRQ WKDW

        FRQVLGHUV WKH YDULRXV DG WHFK FRPSRQHQWV DV D VLQJOH SODWIRUP WKDW PDWFKHV DGYHUWLVHUV

        DQG SXEOLVKHUV SURYLGHV WKH SURSHU DQG PRVW LQIRUPDWLYH HFRQRPLF IUDPHZRUN LQ ZKLFK

        WR XQGHUVWDQG *RRJOH¶V EHKDYLRU DQG WKH FRPSHWLWLYH HQYLURQPHQW LQ ZKLFK LW RSHUDWHV

        6SHFLILFDOO\ VXFK D WZRVLGHG PDUNHW L LQFOXGHV UHOHYDQW FRPSHWLWLYH FRQVWUDLQWV IURP

        ERWK VLGHV RI WKH PDUNHW LL PDNHV VHQVH RI *RRJOH¶V SULFLQJ SDWWHUQV LLL H[SODLQV ZK\

        *RRJOH IRFXVHV RQ WKH FRPSHWLWLYH SUHVVXUHV LPSRVHG E\ ZDOOHG JDUGHQV ZKLFK

        WKHPVHOYHV RIIHU DQ LQWHJUDWHG VROXWLRQ WR FRQQHFW DGYHUWLVHUV WR SXEOLVKHUV DQG LY

        DOORZV IRU WKH IDFW WKDW ILUPV PD\ FRPSHWH E\ RIIHULQJ YDULRXV FRPELQDWLRQV RI SURGXFWV

        IURP 3ODLQWLIIV¶ DUWLILFLDOO\ QDUURZ FRPSRQHQWVSHFLILF PDUNHWV DV D VLQJOH SURGXFW

        5HJDUGLQJ *RRJOH¶V SULFLQJ SDWWHUQV ILUPV LQ WZRVLGHG PDUNHWV KDYH DQ LQFHQWLYH WR VHW

        D SULFLQJ VWUXFWXUH DFURVV ERWK VLGHV RI WKH PDUNHW WKDW WDNHV LQWR DFFR XQW FRPSHWLWLYH

        FRQGLWLRQV RQ ERWK VLGHV RI WKH PDUNHW ,W LV QRW XQFRPPRQ WR VHH ORZ RU HYHQ QHJDWLYH

        SULFHV RQ RQH VLGH RI WKH PDUNHW HJ WKH FXVWRPHUIDFLQJ VLGH RI FUHGLW FDUG PDUNHWV

        HYHQ LI WKDW VLGH RI WKH PDUNHW RQ LWV RZQ ZRXOG DSSHDU WR KDYH JUHDWHU PDUNHW

        FRQFHQWUDWLRQ 6XFK SDWWHUQV²ZKLFK DUH LQFRQVLVWHQW ZLWK WKH XVH RI VHSDUDWH

        FRPSRQHQWVSHFLILF PDUNHWV²FDQ RQO\ EH XQGHUVWRRG E\ SURSHUO\ FRQVLGHULQJ WKH IXOO

        WZRVLGHG PDUNHW +HUH WKH REVHUYHG DG WHFK SULFLQJ SDWWHUQV VXFK DV ORZ SULFHV IRU

        SXEOLVKHU DG VHUYHUV FDQ EHVW EH H[SODLQHG E\ WKH IDFW WKDW *RRJOH KDV VWURQJ LQFHQWLYHV

        WR VHW LWV RZQ SULFHV DQG GHYHORS RWKHU SURGXFW IHDWXUHV LQ VXFK D ZD\ DV WR UHFRJQL]H


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        FRPSHWLWLYH FRQVWUDLQWV IURP ERWK VLGHV RI WKH PDUNHW DQG WR EDODQFH WKH LQWHUHVWV RI

        DGYHUWLVHUV SXEOLVKHUV DQG XVHUV

        5HJDUGLQJ FRPSHWLWLRQ ZLWK ZDOOHG JDUGHQV ZKLFK 3URI /HH UHIHUV WR DV GLJLWDO

        SURSHUWLHV ³XVLQJ LQWHJUDWHG DGYHUWLVLQJ WRROV´  LQ WZRVLGHG PDUNHWV WKHUH LV RIWHQ

        YLJRURXV FRPSHWLWLRQ EHWZHHQ RSHQ DQG FORVHG SODWIRUPV ,Q WKH SUHVHQW FRQWH[W 0HWD

        DQG $PD]RQ RSHUDWH RZQHGDQGRSHUDWHG DGYHUWLVLQJ SODWIRUPV WKDW DUH PXFK PRUH

        FORVHG WKDQ *RRJOH¶V DQG \HW WKH HYLGHQFH WKDW , GLVFXVV EHORZ LQGLFDWHV VLJQLILFDQW

        VXEVWLWXWLRQ EHWZHHQ RSHQ ZHE GLVSOD\ DGYHUWLVLQJ DQG DGYHUWLVLQJ RQ ZDOOHG JDUGHQV

        *RRJOH¶V VKDUH ZLWKLQ D VLQJOH WZRVLGHG WUDQVDFWLRQ PDUNHW IRU GLVSOD\ DGYHUWLVLQJ DV

        RSSRVHG WR 3ODLQWLIIV¶ FRPSRQHQWVSHFLILF RSHQ ZHE GLVSOD\ DGYHUWLVLQJ PDUNHWV LV OHVV

        WKDQ  SHUFHQW DQG GHFOLQLQJ DQG KDV EHHQ OHVV WKDQ  SHUFHQW RYHU WKH HQWLUH  

         SHULRG :LWKLQ D VLQJOH WZRVLGHG WUDQVDFWLRQ PDUNHW IRU DOO GLJLWDO DGYHUWLVLQJ

         LQFOXGLQJ VHDUFK DGYHUWLVLQJ  *RRJOH¶V VKDUH LV OHVV WKDQ  SHUFHQW DQG GHFOLQLQJ DQG

        KDV EHHQ OHVV WKDQ  SHUFHQW RYHU WKH HQWLUH  SHULRG

     %HFDXVH FRPSHWLWLYH FRQGLWLRQV YDU\ DFURVV FRXQWULHV²GULYHQ E\ GLIIHUHQFHV LQ LQFRPHV

 ODQJXDJH WKH UHJXODWRU\ HQYLURQPHQW DQG RWKHU IDFWRUV²LW LV PRVW DSSURSULDWH WR DVVHVV

 FRPSHWLWLRQ DQG WKH HIIHFWV RI *RRJOH¶V FKDOOHQJHG FRQGXFW LQ D JHRJUDSKLF PDUNHW OLPLWHG WR WKH

 8QLWHG 6WDWHV $QDO\VLV EDVHG RQ ZRUOGZLGH GDWD ZKLFK LQDFFXUDWHO\ EOHQGV WKH GLIIHUHQW

 FRPSHWLWLYH FRQGLWLRQV LQ RWKHU FRXQWULHV ZLWK WKRVH LQ WKH 8QLWHG 6WDWHV REVFXUHV WKH QDWXUH RI

 FRPSHWLWLRQ WKDW H[LVWV LQ WKH 8QLWHG 6WDWHV

     *RRJOH GRHV QRW KDYH PRQRSRO\ SRZHU LQ DQ\ SURSHUO\GHILQHG UHOHYDQW PDUNHW 6HFWLRQ

 9  )RU *RRJOH WR KDYH PRQRSRO\ SRZHU DV D PDWWHU RI HFRQRPLFV LW PXVW EH WKH FDVH WKDW

 *RRJOH KDV WKH DELOLW\ WR SURILW E\ UHVWULFWLQJ PDUNHWZLGH RXWSXW ZLWKRXW WKDW RXWSXW EHLQJ

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 840.   Second, even if, counterfactually, Google’s conduct did lead to higher advertising prices,

 advertising costs do not generally translate into higher prices for the advertised products. For

 example, in standard price-setting models, the cost of advertising does not appear in the firm’s

 first-order conditions because it does not vary with output. 1321 In this scenario, an increase in the

 cost of advertising may cause the firm to reduce its use of advertising, but would not change the

 price of the product(s) it is selling. Prof. Lee’s caution in stating only that retail prices can be

 higher (even under the mistaken premise that advertising costs are higher) is thus warranted.1322

 Prof. Lee presents no economic model or empirical analysis to demonstrate that higher

 advertising costs, even if they were to occur, would be passed on to consumers or to what degree.




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 Mark A. Israel
 January 23, 2024




 1321   Hal Varian (2022), “Advertising Costs and Product Prices,” Journal of Law and Economics,
        65(6): S419-S431. See also Lee Report, ¶ 842 (“The extent to which they do so depends on the
        nature of competition and the characteristics of costs and demand for the product.” (citing Jeremy
        I. Bulow and Paul Pfleiderer (1983), “A Note on the Effect of Cost Changes on Prices,” Journal
        of Political Economy, 91(1): 182-185; and E. Glen Weyl and Michal Fabinger (2013), “Pass-
        Through as an Economic Tool: Principles of Incidence under Imperfect Competition,” Journal of
        Political Economy, 121(3): 528-583)).
 1322   Lee Report, § VIII.B.2 (“Higher fees charged for open-web display advertising can lead to higher
        retail prices.” (emphasis added)).


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